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     Federal Defender
 2
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     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   KELVIN BANISTER
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,       ) No. 2:07-cr-056 LKK
                                     )
11                  Plaintiff,       ) STIPULATION AND ORDER CONTINUING
                                     ) CASE AND EXCLUDING TIME
12        v.                         )
                                     )
13   KELVIN BANISTER, et. al.        ) Date:     May 22, 2007
                                     ) Time:     9:30 a.m.
14                  Defendants.      ) Judge:    Hon. Lawrence K. Karlton
     __________________________      )
15
16
          IT IS HEREBY STIPULATED by and between Assistant United States
17
     Attorney Robin Taylor, Counsel for Plaintiff, and Assistant Federal
18
     Defender Jeffrey L. Staniels, Counsel for Defendant Kelvin Banister,
19
     John Balazs, Counsel for Defendant Jasmin Johnston, and Shari Rusk,
20
     Counsel for Defendant Natosha Saunders, that the status conference
21
     scheduled for May 22, 2007, be vacated and the matter recalendared for
22
     status conference on June 12, 2007.
23
          Mr. Balazs and Ms. Rusk are more recently involved in the case as
24
     their clients appeared in this court later than Mr. Banister and have
25
     not yet been able to review discovery.       Ms. Taylor had previously
26
     advised Mr. Staniels that a substantial amount of documentary discovery
27
     is involved in the case. This continuance is sought to permit receipt
28
              Case 2:07-cr-00056-LKK Document 38 Filed 05/21/07 Page 2 of 2


 1   and evaluation of discovery, and consideration of investigation,
 2   motions, and other aspects of defense preparation.            In Mr. Banister’s
 3   case, discussions of possible resolution have also been initiated.
 4         IT IS FURTHER STIPULATED that for trial under the Speedy Trial Act
 5   be excluded between May 22, 2007, and June 12, 2007, pursuant to 18
 6   U.S.C. § 3161(h)(8)(A) & (B)(iv), Local Code T-4.
 7               IT IS SO STIPULATED.
 8
 9   Dated:    May 17, 2007                     /S/ Robin Taylor
                                               ROBIN TAYLOR
10                                             Assistant United States Attorney
                                               Counsel for Plaintiff
11
12   Dated:    April 6, 2007                    /S/ Jeffrey L. Staniels
                                               JEFFREY L. STANIELS
13                                             Assistant Federal Defender
                                               Counsel for Defendant
14                                             KELVIN BANISTER
15   Dated:    April 6, 2007                    /S/ John Balazs
                                               JOHN BALAZS
16                                             Counsel for Defendant
                                               JASMIN JOHNSTON
17
     Dated:    April 6, 2007                    /S/ Shari Rusk
18                                             SHARI RUSK
                                               Counsel for Defendant
19                                             NATOSHA SAUNDERS
20
21                                        O R D E R
22
           IT IS SO ORDERED.
23
                                   By the Court,
24
25
     Dated: May 21, 2007
26
27
28

     Stipulation and Order Continuing
     Case and Excluding Time                   2
